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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re:

MICH’S MACCS, LLC,                                             Chapter 11
                                            Debtor.            Case No. 21-11567-DSJ
-----------------------------------------------------------X

                 ORDER AUTHORIZING AND APPROVING RETENTION
                 OF AUCTION ADVISORS AS AUCTIONEERS FOR THE
                      DEBTOR AND DEBTOR-IN-POSSESSION

          UPON the unopposed application, dated February 3, 2022 (the “Application”), of the

debtor and debtor-in-possession (the “Debtor”) for entry of an order authorizing the Debtor to

employ and retain Auction Advisors (“Auctioneer”) as auctioneers with respect to the assets

described in the Application; and upon the supporting affidavit of Joshua Olshin; and it

appearing that Auctioneer does not hold or represent an interest adverse to the Debtor or to its

estate, is a “disinterested person” within the meaning of 11 U.S.C. § 101(14), and that its

employment is necessary and would be in the best interests of this estate, it is hereby

[DSJ 3/18/2022]

          ORDERED, that the Application is granted; and it is further

          ORDERED, that pursuant to Section 327(a), the Debtor is authorized to employ Auction

Advisors as auctioneers with respect to the assets described in the Application and, subject to the

terms of this Order, the Auction Services Agreement attached thereto; and it is further

          ORDERED, that Auctioneer shall be compensated and reimbursed in accordance with,

and will file interim and final fee applications for allowance of its compensation and expenses

and shall be subject to, 11 U.S.C. §§ 330 and 331, as the case may be, and the applicable

Bankruptcy Rules, Local Rules, and fee and expense guidelines and orders of the Court; and it is

further


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       ORDERED, that the Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order; and it is further

       ORDERED, that if there is any inconsistency between the terms of this Order, the

Application, and the supporting Affidavit, the terms of this Order shall govern.


Dated: New York, New York
       March 18, 2022

                                         s/ David S. Jones
                                      HONORABLE DAVID S. JONES
                                      UNITED STATES BANKRUPTCY JUDGE


NO OBJECTION:
OFFICE OF THE UNITED STATES TRUSTEE

/s/ Annie Wells
By: Annie Wells, Trial Attorney
Date: February 3, 2022




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